COX, WOOTTON,
GRIFFIN, HANSEN
& POULOS, LLP

190 THE EMBARCADERO
SAN FRANCISCO, CA
94105
TEL: 41350381600
FAX: 415-4384601

SKULD.SparTwo/2299

 

 

Case 3:05-cv-03406-SC Document 144 Filed 05/23/07 Page 1of5

COX, WOOTTON, GRIFFIN,
HANSEN & POULOS, LLP
Gregory W. Poulos (SBN 131428)
Christopher S. Kieliger (SBN 209121)
190 The Embarcadero

San Francisco, CA 94105

Telephone No.: 415-438-4600
Facsimile No.: 415-438-4601

Attorneys for Armada Bulk Carriers, LTD

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
ARMADA BULK CARRIERS, LTD, a Case No.: C 05- 3406 SC
Foreign Corporation
Plaintiff, ARMADA BULK CARRIERS,
LTD’S TRIAL BRIEF RE:

V. CONTRACT TERMS

Delaware Corporation, FOSS MARITIME Time: 9:30 a.m.
COMPANY, INC., a Washington
Corporation, and FOSS MARITIME
BARGE 185 P3, in rem,

)
)
)
)
)
CONOCOPHILLIPS COMPANY, INC., a ) TRIAL DATE: May 7, 2007
)
)
) Hon. Judge Samuel Conti
)
)
}

Defendants.

)

Armada Bulk Carriers, Ltd. submits the following brief in response to the Court’s

 

order dated May 16, 2007,

A. Contract Documents:

Four documents form the contract at issue. They are:

I, Broker’s Confirmation (Exhibit P-3 & Testimony of Richard Clark);

2. cP General Terms and Conditions (Exhibit P-131 & Testimony of Richard
Clark, Peter Pecry and Owen Stillings);

3. CP Marine Provisions (Exhibit P-132 incorporated by reference in
paragraphs 18.1 and 24,1 of the General Terms and Conditions). These terms apply by

virtue of CP’s General Terms and Conditions, 418 which states that the “Marine

1
Case No. C 05-3406-SC

TRIAL BRIEF OF ARMADA BULK CARRIERS RE: CONTRACT TERMS

 

 
COX, WOOTTON,
GRIFFIN, HANSEN
& POULOS, LLP

190 THE EMBARCADERO
SAN FRANCISCO, CA

TELLS 438-4600
FAX: 4134334001

SKULD-Spar'lwo/2299

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

il

Case 3:05-cv-03406-SC Document 144 Filed 05/23/07 Page 2 of 5

Provisions” apply “If delivery is to be made by water-borne transporation...” (P-131, 418;
Testimony of Owen Stillings). While CP contends that these terms only apply to “cargo”,
the term “cargo” is defined in the Marine Provisions as “any products, gas liquids,
atmospheric residuum, crude oil or condensate as described elsewhere in the Agreement.”
Fuel oil obviously fits within this definition.

4, CP Marine Fuels Purchase/Sale Addendum (Exhibit P-133 & Testimony of
Richard Clark, Peter Pecry and Owen Stillings).

B. Contract Terms:

The relevant contract terms are:

1. CP contracted to provide fuel oil meeting the specifications for IFO 180 /
RME 25 Grade Fuel Oil, (P-3, P-131 93.1; P-133, J93A, B & C; Testimony of Richard
Clark and Owen Stillings). These specifications set specific limits on the amount of
Aluminum, Silicon, Ash and Water. Aluminum and silicon combined cannot exceed 80
ppm (or mg/kg), Ash cannot exceed 0.10% and Water cannot exceed 1.0%. (Testimony of
Richard Clark, Owen Stillings and Max Grossey).

2. Delivery was to be at the permanent flange of the receiving vessel, the SPAR
TWO. (P-3; P-131, 92.3; Testimony of Richard Clark & Owen Stillings) (Mr. Stillings
admitted that delivery point was at the flange of the SPAR TWO and relied also on
defendant’s exhibit D-501).

3. Sampling for determination of quality of the fuel oil was to be carried out “in
accordance with [Seller’s] normal sampling procedures at the delivery port.” (P-133, 6A).
CP’s “normal sampling procedures at the delivery port” were to use an independent
inspection company applying industry standards. (P-169, response No. 9; Testimony of
Owen Stillings). Other contract terms specifically refer to the “American Petroleum
Institute (“API”) Manual of Petroleum Measurement Standards” which are the standards

published by the ASTM. (P-132, [X1)

2
Case No, C 05-3406-SC

TRIAL BRIEF OF ARMADA BULK CARRIERS RE: CONTRACT TERMS

 

 
COX, WOOTTON,
GRIFFIN, HANSEN
& POULOS, LLE

190 THE FMAARCADERG
SAN FRANCISCO, CA.
94105
TEL: 415-438-1600
VAX: 4159384601

SKULD.SparTwo/2299

co SS SNS DO A f

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:05-cv-03406-SC Document 144 Filed 05/23/07 Page 3 of 5

4, The industry standards for sampling and testing are the ASTM standards.
(P-131, 93.2; P-132, €X(1); P-110; Testimony of Owen Stillings and Max Grossey).

5. CP was required to maintain a sealed sample of the product delivered, and
the parties agreed that a properly taken and sealed sample would be used for determination
of quality absent “manifest error,” (P-133, YJ6A, 7D; P-131, 3.2; P-132, [X1) Armada
contends that the samples taken on the barge by Mr. Nassir were not properly taken or
sealed and are not representative as required by the ASTM standards. As such they cannot
be used as binding samples in a quality dispute. (D-536; Testimony of Max Grossey &
Hussain Nassir)

6. Armada was required to provide written notice to CP within 30 days of
delivery including specific “then available” information. (P-133, 97D; See, P-158, P-160,
P-161).

7. Federal Maritime Law and New York law govern. (P-13 1, (11.1; P-133,
4{14). The Federal Maritime Law applies the Uniform Commercial Code (U.C.C.) to
commercial transactions. Hozie v. The Vessel Highland Light, 182 F.3d 925 cg" Cir, 1999),

8, No terms or conditions of the contract can be amended orally or in writing
uniess the amendment was in writing and is signed by the other party. (P-131, 421.1)

9, In the event that fuel oil was delivered with “non-conforming
specifications,” CP agreed to “remove the fuel from the vessel and to replace it to the extent
such fuel was delivered under this agreement.” (P-133, Y8B). Armada contends that CP
lost the right to this limitation when it refused to remove the oil in San Francisco and
Portland thereby creating a situation where the limited remedy provided in the contract
“failed in its essential purpose” under the UCC. U.C.C. 2-719; Cayuga Harvester, Inc. v.
Allis-Chalmers Corporation, 465 N.Y.8.2d 606, 611-12 (N.Y. App.Div., 1983); Belfont
Sales Corp. v. Gruen Industries Inc., 491 N.Y.S. 2d 652, 654-55 (N.Y. App. Div., 1985)

(holding that a limited remedy may fail in its essential purpose if a buyer is forced to incur

3
Case No, C 05-3406-SC
TRIAL BRIEF OF ARMADA BULK CARRIERS RE: CONTRACT TERMS

 

 
COX, WOOTTON,
GRIFFIN, HANSEN
& PGOULOS, LLP

190 THE EMBARCADERO
SAN FRANCISCO, CA
F4lds
TEL; 413-438-4600
FAX: 415-438-4601

SKULD.SparTwo/2299

oO «So NS DH OO LB

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

28

 

 

Case 3:05-cv-03406-SC Document 144 Filed 05/23/07 Page 4of5

large expenses in handling a defective product. (P-172; Testimony of Richard Clark, Peter
Pecry, Owen Stillings).

10. CP contracted to “protect, defend, indemnify and hold [Armada] harmless
from and against any and all claims, demands, suits, losses, expenses (including without
limitations, costs of defense, attorney’s fees and interest), damages, fines, penalties, causes
of action and liabilities of every type and character, including but not limited to personal
injury or death to any person including employees of either Party or loss or damage to any
personal or real property, caused by, arising out of or resulting from the acts or omissions of
negligence or willful acts of such indemnifying Party, its officers, employees or agents with
respect to the purchasé and sale of Product hereunder.” (P-131, 414.1).

11. CP’s terms limit the recovery of “indirect, special losses or special damages”
or loss of profit. (P-133, |8C). Armada is not claiming indirect, special losses or special
damages. To the contrary, all of Armada’s claimed damages are the direct and proximate
result of CP’s delivery of off-specification fuel oil to the vessel and the costs to store and
later remove it after CP refused to comply with its obligation to “remove and replace” the
fuel oil. They thus fall under P-131, 414.1.

12. Paragraphs 10.1 and 10.2 of the General Terms and Conditions (P-131) sets
forth the rights of Armada in the event that CP failed to deliver the products ordered or
breached a warranty. The remedies in this provision are “in addtion to, and not in limitation
or exclusion of, any other rights...[and includes] sale to a third party of the Product which is
the subject of the Agreement.” The “Non-Performing Party shall indemnify and hold the
Performing Party harmless from all costs and expenses (including reasonable attorney fees)
incurred in the exercise of any remedies hereunder.”

13. | Armada contends that the following U.C.C. provisions are applicable:

a, UCC §1-106 (Remedies to be Liberally Administered);

b. UCC §2-513 (Buyer’s Right to Inspection of Goods)

4
Case No, C 05-3406-SC
TRIAL BRIEF OF ARMADA BULK CARRIERS RE: CONTRACT TERMS

 

 
COX, WOOTTON,
GRIFFIN, |EANSEN
& POULOS, LLP

190 THE EMBARCADERO
SAN FRANCISCO, CA,
D105
TEL: 415-438-4600
VAX: 413-438-4601

SKULD.SparTwo/2299

oO 7S “NY DH

11
12
13
14
15
16
17
18

 

 

Case 3:05-cv-03406-SC Document 144 Filed 05/23/07 Page 5of5

UCC § 2-602 (Manner and Effect of Rightful Rejection and allowing
rejection “within a reasonable time after their delivery or tender.”);

UCC §2-603 (Merchant Buyer’s Duties as to Rightfully Rejected Goods)
UCC § 2- 604 (Buyer’s Options as to Salvage of Rightfully Rejected
Goods);

UCC §2 — 606 (What Constitutes Acceptance of Goods);

UCC §2 — 607 (Effect of Acceptance);

UCC §2 — 608 (Revocation of Acceptance in Whole or in Part);

UCC §2 —711 (Buyer’s Remedies in General);

UCC §2 — 712 (Cover; Buyer’s Procurement of Substitute Goods);

UCC §2-713 (Buyers Damages for Non-Delivery or Repudiation)

UCC §2-714 (Buyers Damages for Breach in Regard to Accepted Goods)
(Armada contends that it did not accept the goods, but if the Court finds that
the oil was accepted, and that the acceptance was not revoked, then this
section may be applicable);

UCC §2 - 715 (Buyer’s Incidental and Consequential Damages)

UCC §2 — 719 (Contractual Modification or Limitation of Remedy)

Dated: May 23, 2007 COX, WOOTTON, GRIFFIN,

HANSEN & POULOS, LLP
Attorneys for ARMADA BULK CARRIERS, LTD

By Sf
Gregory W. Poulos

 

5
Case No. C 05-3406-5C

TRIAL BRIEF OF ARMADA BULK CARRIERS RE; CONTRACT TERMS

 

 
